Case 1:25-cv-00306-RDM   Document 44-4   Filed 03/24/25   Page 1 of 13




               Exhibit D
Case 1:25-cv-00306-RDM   Document 44-4   Filed 03/24/25   Page 2 of 13




                                                                  USA00022
        Case 1:25-cv-00306-RDM        Document 44-4        Filed 03/24/25      Page 3 of 13



                                             Muster

Date:                        February 28, 2025

Topic:                       Update: Implementation of Active Executive Orders –
                             February 28, 2025

Headquarters POCs:           Admissibility Policy Concerns: Enforcement Programs Division
                             (                             @cbp.dhs.gov)

                             Secondary Processing Systems: HQ USEC Team
                             (          @cbp.dhs.gov)

                             Operational Concerns: Law Enforcement Operations Division
                             (                    @cbp.dhs.gov)

This guidance updates the muster, Implementation of Active Executive Orders, issued on
February 7, 2025.

Overview:
  • There are multiple active executive actions as of February 28, 2025, such as:
     o Guaranteeing the States Protection Against Invasion (January 2025), specifically,
         Section 3 of Presidential Proclamation 10888, suspends entry to the U.S. at all ports of
         entry (POEs) for aliens who fail to provide sufficient medical information and reliable
         criminal history and background information to enable fulfillment of the requirements
         of sections 212(a)(l)-(3) of the Immigration and Nationality Act (INA), pursuant to
         sections 212(f) and 215(a) of the INA, and restricts access to provisions of immigration
         law that would permit an alien’s continued presence in the United States, including, but
         not limited to, Section 208 of the INA.
     o Securing Our Borders (January 2025) strengthens immigration response requirements
         and border security measures, ending “Catch and Release” practices, and reiterates the
         appropriate discretionary use of parole on a case-by-case basis.
     o Realigning the United States Refugee Admissions Program (January 2025) suspends the
         entry of refugees under the U.S. Refugee Admission Program (USRAP) pursuant to
         sections 212(f) and 215(a) of the INA.
     o Securing the Border (September 2024) suspends and limits the entry of certain aliens
         into the United States across the southern border with Mexico, maritime borders
         approximate to the southern border and the Gulf, the Virgin Islands, and Puerto Rico and
         does so during emergency border circumstances pursuant to sections 212(f) and 215(a) of
         the INA.
  • Changes in the operational landscape due to the Executive Orders and the Proclamation will
     be addressed by Office of Field Operations (OFO) through strategic resource leveraging in
     the following areas of consideration: pre-processing steps, port security, inspecting aliens in
     the appropriate manner.




                                     For Official Use Only
                                   Law Enforcement Sensitive                            USA00023
Case 1:25-cv-00306-RDM   Document 44-4   Filed 03/24/25   Page 4 of 13




                                                                  USA00024
Case 1:25-cv-00306-RDM   Document 44-4   Filed 03/24/25   Page 5 of 13




                                                                  USA00025
Case 1:25-cv-00306-RDM   Document 44-4   Filed 03/24/25   Page 6 of 13




                                                                  USA00026
Case 1:25-cv-00306-RDM   Document 44-4   Filed 03/24/25   Page 7 of 13




                                                                  USA00027
Case 1:25-cv-00306-RDM   Document 44-4   Filed 03/24/25   Page 8 of 13




                                                                  USA00028
Case 1:25-cv-00306-RDM   Document 44-4   Filed 03/24/25   Page 9 of 13




                                                                  USA00029
Case 1:25-cv-00306-RDM   Document 44-4   Filed 03/24/25   Page 10 of 13




                                                                  USA00030
Case 1:25-cv-00306-RDM   Document 44-4   Filed 03/24/25   Page 11 of 13




                                                                  USA00031
Case 1:25-cv-00306-RDM   Document 44-4   Filed 03/24/25   Page 12 of 13




                                                                  USA00032
Case 1:25-cv-00306-RDM   Document 44-4   Filed 03/24/25   Page 13 of 13




                                                                  USA00033
